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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                          )
 In re:                                                   ) Chapter 11
                                                          )
 ALEXANDER E. JONES,                                      ) Case No. 22-33553 (CML)
                                                          )
                         Debtor.                          )
                                                          )

CERTIFICATE OF NO OBJECTION WITH RESPECT TO TENEO CAPITAL LLC’S
 ELEVENTH MONTHLY FEE STATEMENT FOR COMPENSATION OF SERVICES
RENDERED AND REIMBURSEMENT OF EXPENSES AS FINANCIAL ADVISOR TO
 THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR THE PERIOD
         FROM NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

          Pursuant to the Procedures for Complex Chapter 11 Cases in the Southern District of Texas

(the “Complex Chapter 11 Case Procedures”), the undersigned counsel for the Official Committee

of Unsecured Creditors (the “Committee”) appointed in the chapter 11 case of Alexander E. Jones

(the “Debtor”) certifies as follows:

          1.     On April 15, 2024, the Committee filed Teneo Capital LLC’s Eleventh Monthly Fee

Statement for Compensation of Services Rendered and Reimbursement of Expenses as Financial

Advisor to the Official Committee of Unsecured Creditors for the Period from November 1, 2023

Through November 30, 2023 [ECF No. 655] (the “Application”).

          2.     The deadline for receipt of objections to the Application passed on April 29, 2024.

In accordance with paragraph 44 of the Complex Chapter 11 Case Procedures, the undersigned

represents to the Court that the Committee is unaware of any objection to the Application, and that

counsel to the Committee has reviewed the Court’s docket and no objection/response appears

thereon.

          3.     Attached hereto as Exhibit A is a proposed Order Granting Teneo Capital LLC’s
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Tenth Monthly Fee Statement for Compensation of Services Rendered and Reimbursement of

Expenses as Financial Advisor to the Official Committee of Unsecured Creditors for the Period

from November 1, 2023 Through November 30, 2023 (the “Proposed Order”).

       WHEREFORE, the Committee respectfully requests that the Court enter the Proposed

Order at its earliest convenience.

                           [Remainder of page intentionally left blank.]




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Dated: May 8, 2024                Respectfully submitted,


                                  By: /s/ Marty L. Brimmage, Jr.
                                  Marty L. Brimmage, Jr.

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                                  -and-

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                                  Counsel to the Official Committee of Unsecured
                                  Creditors of Alexander E. Jones




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                                CERTIFICATE OF SERVICE

       I certify that on May 8, 2024, I caused a copy of the foregoing document to be served by

the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District

of Texas.

                                                    /s/ Marty L. Brimmage, Jr.
                                                    Marty L. Brimmage, Jr.
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                          EXHIBIT A

                         Proposed Order
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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                         )
 In re:                                                  ) Chapter 11
                                                         )
 ALEXANDER E. JONES,                                     ) Case No. 22-33553 (CML)
                                                         )
                         Debtor.                         )
                                                         )

           ORDER GRANTING TENEO CAPITAL LLC’S ELEVENTH
       MONTHLY FEE STATEMENT FOR COMPENSATION OF SERVICES
       RENDERED AND REIMBURSEMENT OF EXPENSES AS FINANCIAL
    ADVISOR TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
   FOR THE PERIOD FROM NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

          The Court has considered Teneo Capital LLC’s Eleventh Monthly Fee Statement for

Compensation of Services Rendered and Reimbursement of Expenses as Financial Advisor to the

Official Committee of Unsecured Creditors for the Period from November 1, 2023 Through

November 30, 2023 [ECF No. 655] (the “Application”) filed by Teneo Capital LLC (the

“Applicant”).

The Court orders:

          1.     Applicant is allowed compensation and reimbursement of expenses in the amount

of $77,541.12 for the period set forth in the Application.

          2.     Debtor Alexander E. Jones is authorized to disburse any unpaid amounts allowed

by paragraph 1 of this Order.



Dated: ____________, 2024                     ____________________________________
                                              CHRISTOPHER M. LOPEZ
                                              UNITED STATES BANKRUPTCY JUDGE




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